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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

    MIKE BRINKMAN,                                         CASE NO.: 8:20-cv-02453

      Plaintiff,

    -vs-

    EQUIFAX INFORMATION
    SERVICES LLC
    and ACCOUNT RESOLUTION
    SERVICES, LLC,

      Defendants.
                                             /

             NOTICE OF LEGAL ISSUES AND FACTUAL MATTERS

           On March 11 2021, Plaintiff, Mike Brinkman and Defendant, Account

Resolution Services, LLC1 (“ARS”), through and with their undersigned

counsel, mediated with Honorable Judge Gregory Holder.

           The parties were unable to resolve the matter and an impasse was

reached. As such, pursuant to the Court’s Scheduling Order [Doc. 8], the

parties file their Notice of legal issues they believe will need to be resolved at

the summary judgment stage and/or the factual matters they believe will be at

issue during trial.




1
    The correct legal name is Healthcare Revenue Recovery Group, LLC d/b/a ARS Account Resolution Services
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Plaintiff’s legal issues in this matter are as follows:

   1. Whether ARS failed to follow FCRA provision §1681S-2(b) by not

      establishing or following reasonable procedures to assure maximum

      possible accuracy in reporting to the Credit Reporting Agencies.

   2. Whether ARS’ conduct, action, and inaction are willful, rendering ARS

      liable for actual and/or statutory damages, and punitive damages in an

      amount to be determined by the Court pursuant to 15 USC § 1681n. In

      the alternative, if ARS was negligent, Plaintiff is entitled to recover

      under 15 USC § 1681o.

      Plaintiff believes the Court will be able to resolve the violation by ARS

of §1681S-2(b) at the summary judgment stage. Plaintiff intends to have a jury

determine the amount of actual, compensatory, and punitive damages based

on ARS’ violations of the FCRA.

Defendant’s legal issues in this matter are as follows:

ARS believes that the legal issues are as follows:

      1.    Whether ARS’ alleged actions or inactions were negligent in

conducting a reasonable investigation to determine the accuracy of information

provided to the credit reporting agency?

      2.    Whether ARS’s alleged actions or inactions were willful and

intentional in failing to conduct a reasonable re-investigation of the

information reported to the credit reporting agencies?
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      3.    Whether ARS is not liable under the FCRA based on the assertion

of each of the affirmative defenses raised in its responsive pleading?

      4.    Whether any claims damages were proximately related to the

actions or inactions of ARS?

      5.    Whether Plaintiff failed to mitigate any alleged damages claimed

to be caused by the alleged actions or inactions of ARS?

      ARS asserts that the determination of negligent and/or willful conduct

is a question of fact for evaluation by a jury and is not subject to determination

by the court by dispositive motion as there are clearly disputed issues of

material fact in this case.
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Dated this 12th day of March, 2021.

Respectfully submitted,

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